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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Jane Doe
                                                    Plaintiff,
v.                                                                Case No.: 1:23−cv−14303
                                                                  Honorable John F. Kness
Anthony's Pizza Holding Company, LLC, et al.
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 2, 2024:


        MINUTE entry before the Honorable John F. Kness: Plaintiff's Motion to proceed
under a pseudonym [16] is granted. Although the Seventh Circuit disfavors anonymity in
legal proceedings, it has identified categorical exceptions to the rule requiring parties' real
names. Fictitious names "are allowed when necessary to protect the privacy of children,
rape victims, and other particularly vulnerable parties or witnesses." Doe v. Blue Cross &
Blue Shield United of Wis., 112 F.3d 869, 872 (7th Cir. 1997). Conversely, the Seventh
Circuit generally disfavors allowing sexual harassment claimants to proceed
anonymously. See Doe v. City of Chicago, 360 F.3d 667, 669 (7th Cir. 2004). Although
the issue is close, the Court agrees that Plaintiff has met her burden and should be allowed
to proceed pseudonymously. Plaintiff has offered sufficient support for the harms she will
allegedly suffer if her identity was revealed at this stage of the litigation, so the Court
finds her argument overcomes the "strong presumption of public access." HTG Cap.
Partners, LLC v. Doe(s), 2015 WL 5611333, at *8 (N.D. Ill. Sept. 22, 2015). Mailed
notice. (exr, )




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